76 F.3d 375
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ronald Jerry SAWYER, Plaintiff-Appellant,v.R. BRUCE, Sergeant;  J. Evans;  Ms. Mills, Nurse,Defendants-Appellees.
    No. 95-7727.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 11, 1996.Decided Jan. 25, 1996.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.   Claude M. Hilton, District Judge.  (CA-95-1429-AM)
      Ronald Jerry Sawyer, Appellant Pro Se.
      E.D.Va.
      AFFIRMED.
      Before RUSSELL, HALL and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his motion for a temporary restraining order.   We have reviewed the record and the district court's opinion, and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Sawyer v. Bruce, No. CA-95-1429-AM (E.D.Va. Oct. 11, 1995).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    